                         Case 1:23-mj-02494-BAH Document 10 Filed 10/03/23 Page 1 of 1
 Levin x4948
 AO 442 (Rev. II III)    Arrest Warrant



                                                                                                                                      ____ FILED ___ ENTERED
                                              UNITED STATES DISTRICT COURT                                                            ____ LOGGED _____ RECEIVED
                                                                                        for the                                       3:24 pm, Oct 03 2023
                                                                           District of Mary land                                      AT BALTIMORE
                                                                                                                                      CLERK, U.S. DISTRICT COURT
                                                                                                                                      DISTRICT OF MARYLAND
                        United States of America                                                                                      BY ______________Deputy
                        v.                                                               )
   FREDERICK   DOUGLASS MOOREFIELD, JR. a/k/a                                            )         Case No.     I :23-mj-02494-BAH
                "GEEHAD KENNELS",                                                        )
      MARIO DAMON FLYTHE a/k/a "RAZOR SHARP
                                                                                         )
                     KENNELS"
                                                                                         )
                                                                                         )
                                 Defendant


                                                                 ARREST WARRANT
To:        Any authorized law enforcement officer


           YOU ARE COMMANDED                         to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)           FREDERICK       DOUGLASS            MOOREFIELD,            JR.
who is accused of an offense or violation based on the following document filed with the court:

o Indictment        o Superseding Indictment    o Information       o Superseding Information                                                   ~ Complaint
o Probation Violation Petition    o Supervised Release Violation Petition    o Violation Notice                                                 0 Order of the Court
This offense is briefly described as follows:

  Violations of 7 U.S.C. § 2156(b) and 18 U.S.C. § 49(a) (Buying, Selling, Delivering, Possessing, Training, or Transporting
  Animals for Participation in an Animal Fighting Venture); 7 U.S.C. § 2156(c) and 18 U.S.C. § 49(a) (Use of Postal Service
  or Other Interstate Instrumentality for Promoting or Furthering an Animal Fighting Venture); 18 U.S.C. § 371 (Conspiracy to
  Sponsor or Exhibit an Animal in an Animal Fighting Venture); and 18 U.S.C. § 1952 (Interstate and Foreign Travel or
  Transportation in Aid of Racketeering Enterprises).




Date:    September 21, 2023
                                                                                                                Issuing officer's   signature


City and state:           Baltimore,      Maryland                                                Brendan A. Hurson, United States Ma
                                                                                                                  Printed name and title


                                                                                   Return

           This warrant was received on (date)             _~_-'--=<':...L\_---=<~}__        ,and the person was arrested on (date)               q-.2.~' 2.>
at (city and state)     ~   It)~~ti'. .Mt,.


Date:        t 0 - 3-2 3
